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                                              May 30, 2024

    VIA ECF
    Honorable Michael A. Hammer
    United States District Court
    Martin Luther King Building & U.S. Courthouse
    50 Walnut Street
    Newark, NJ 07101

                             Re: Nina Agdal v. Dillon Danis, 23-CV-16873 (MCA)(MAH)

    Dear Judge Hammer:

             We represent Plaintiff Nina Agdal in the above-referenced matter. We submit this status
    letter in advance of the status conference, scheduled for May 31, 2024, to update the Court on the
    status of the case.

        1. Defendant’s Ongoing Discovery Non-Compliance

            On April 25, 2024, upon consideration of Plaintiff’s letter concerning Defendant’s failure
    to produce discovery [D.E. 53], this Court ordered that “Defendant must produce ALL
    outstanding discovery responses by May 10, 2024” [D.E. 54]. This Court also directed
    Defendant’s counsel to “specifically instruct Defendant that failure to comply . . . may result in
    the issuance of an Order to Show Cause as to why sanctions should not be imposed . . . .”
    Regrettably, Defendant failed to fulfill his discovery obligations by the Court-ordered deadline
    of May 10, 2024, and, despite Plaintiff’s continued efforts to work with Defendant to comply
    with his discovery obligations, he remains non-compliant as of the filing of this letter.

            Defendant still has not produced the majority of outstanding discovery owed to Plaintiff.
    In particular, Defendant has not produced any communications he sent or received via text
    message, email, or WhatsApp (which we are advised is Defendant’s primary means of
    communication) that relate to the issues in dispute – namely his social media activities pertaining
    to Plaintiff. Although, on May 12, 2024, Defendant did provide his first and only production of
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  documents to Plaintiff, that production was limited to communications Defendant had sent or
  received on Instagram and Facebook.

          The Parties have conferred several times about the outstanding discovery that is owed to
  Plaintiff (including since the May 10, 2024 deadline), and Defendant’s counsel has represented
  he has attempted – thus far unsuccessfully – to obtain the outstanding requested materials and
  information from Defendant. As such, consistent with this Court’s April 25, 2024 Order, Plaintiff
  will ask this Court to issue an Order to Show Cause why sanctions should not be imposed against
  Defendant. In that regard, Plaintiff is preparing a discovery letter in accordance with ¶ 3 of this
  Court’s Amended Pretrial Scheduling Order [DE 48] as to the various outstanding discovery
  items. Plaintiff notes that, while Defendant continues to shirk his discovery obligations, he
  continues to find time to mock and make light of this proceeding on social media:1




  1
    This is not the first time Defendant has parodied and mocked the justice system, as evidenced by
  Defendant’s prior social media posts documenting his attempts to evade service. See D.E. 9 at ¶¶ 9–15.
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     2. Plaintiff’s Dispute with Non-Party Joshua Wander
           Plaintiff's efforts to take the deposition of nonparty Joshua Wander continue. Mr. Wander
  is the individual who took the explicit photograph of Plaintiff underlying several of Plaintiff’s
  claims against Defendant. In February 2024, Plaintiff was forced to file a related action in the
  Southern District of Florida to enforce Mr. Wander’s compliance with a deposition subpoena.
  See Agdal v. Wander, 24-CV-20729-PCH-EGT. Following a hearing on March 28, 2024, Chief
  United States Magistrate Judge Edwin G. Torres granted Plaintiff’s motion to compel and
  ordered Mr. Wander to sit for an in-person deposition, declining to impose any temporal or
  substantive limitations on the deposition other than it be conducted in accordance with the
  Federal Rules.

          Mr. Wander’s deposition commenced on May 14, 2024. Upon instructions from his
  counsel, however, Mr. Wander refused to answer any questions relating to his background
  (including, for example, where he works) or credibility (including, for example, other public
  allegations of dishonesty) and terminated the deposition early. As a result, Plaintiff is moving to
  compel Mr. Wander to re-convene his deposition and answer questions (and for sanctions). A
  hearing is scheduled on that matter before Judge Torres on June 20, 2024.
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        3. Other Third-Party Discovery
          Plaintiff continues to actively pursue discovery from several other nonparties pursuant to
  document subpoenas, including most notably (i) X (formerly Twitter), where Defendant posted
  the majority of the offending social media posts underlying Plaintiff’s claims, and (ii) DAZN, the
  broadcaster of the boxing match that Defendant claims to have been promoting when he made
  the posts at issue. We have been conferring with outside counsel for each of these nonparties and
  are attempting to avoid the need for any further subpoena enforcement-related litigation.

        4. Pretrial Calendar
          Given Defendant’s ongoing noncompliance with his discovery obligations, which has
  stymied Plaintiff’s ability to progress this case, and Plaintiff’s ongoing efforts to obtain nonparty
  discovery, Plaintiff will be requesting this Court extend the discovery and other pretrial deadlines
  in this matter by 90 days. Inter alia, the pending written and document discovery is needed to
  prepare for depositions – and, in some cases, to identify deposition targets.

        5. Plaintiff’s Forthcoming Second Amended Complaint
          Plaintiff intends to imminently file a Second Amended Complaint. The Second Amended
  Complaint will not change the nature or scope of this case, but simply will add a third count for
  violating the 2022 Violence Against Women Act Reauthorization, as discovery recently revealed
  that Defendant posted the explicit photograph at issue three times – not twice, as previously
  understood. We consulted with defense counsel who has consented to the amended filing.

         We look forward to discussing these matters with the Court at the May 31, 2024 status
  conference. Thank You for Your Honor’s consideration.

                                                                Respectfully submitted,

                                                                /s/ Joseph B. Shumofsky

                                                                Joseph B. Shumofsky

  cc:      Counsel for Defendant Dillon Danis (via ECF and Email)
